IN TI~IE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

OJSC UKRNAFTA

Plaintiff,
VS. '

CARPATSKY PETROLEUM
CORPORATIGN, a Delaware Corporation;
TAUREX RESOURCES PLC;

ROBERT BENSCH and

KUWAIT ENERGY COMPANY, K.S.C.

Civil Action Nn. 4:09-CV-891

mWQ¢D¢WDUODDO'-TCO'JGOGWBOMWJFM

Defendants.

 

CARPATSKY PETROLEUM CORPORATION’S EMERGENCY MOTION FOR STAY
PENDING DECISION BY ARBITRATION TRIBUNAL

 

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WMWQW>OO’JUOO€OD€ODOUJW'JOO¢@

Defendants.

 

CARPATSKY PETROLEUM CORPORATION’S EMERGENCY MOTION FOR STAY
PENDING DECISION BY ARBITRATIO_N TRIBUNAL

 

COMES NOW, Defendant Carpatsky Petroleurn Corporation (“Carpatsky”) and files this
Ernergency Motion for Stay Pending Decision by Arbitration Tribunal.1

I. SUMMARY OF RELIEF SOUGHT

Carpatsky moves the Court to stay all proceedings in this lawsuit on the grounds that the
_ claims asserted by Plaintiff OJSC Ukrnaha (“Ukrna;fta”), a privately owned Ukrainian entity,
involve matters already under consideration in a pending arbitration between the parties in
Stockholrn, Sweden. Indeed, the facts and issues at the heart of this case have been fillly briefed
and argued to the Arbitration Tribunal, and it has stated its intention to issue a ruling on those

issues by mid-April 2009. As explained below, the provisions of the Federal Arbitration Act, the

 

1 This motion is supported by the Affidavit of Brenda Horrigan (“Horrigan Aff.”), attached hereto as Exhibit A,
as well as Exhibits 1, 3, and 4 t_o the Affidavit of '\/'asylets, Svitlana Volodyrnyrivna (“Vasylets Aff.”) attached to
Ukrnatta’s Motion for Preliminary Injunction (Dkt. # 3, Ex. 1).

Convention on the Recognition and Enforcement of Foreign Arbitration Awards, and the strong
federal policy favoring arbitration require this Court to stay this lawsuit until the Arbitration

Tribunal has issued its ruling on these issues.

II. THE CLAIMS IN THIS LAWS\UIT

The claims asserted by Ultrnatta in this case concern the validity of a Foundation
Agreement that created a joint venture between the parties effective August 18, 1994, (the “JV”)
and certain amendments to a separate Joint Activity Agreement between the parties dated
September 14, 1995 (“JAA”). The .lV concerns the parties’ _joint development of the Bytkiv-
Babchynsl<e oil field in Ul<raine (the “BB Field”). Similarly, the JAA governs the relations
between Carpatsky and Ul<rna;tta in the Rudivsky-Chervonozavodsky gas condensate field in
Ul<:raine (the “RC Field”). All of Ukrnafta’s claims arise from the fact that the .TV and the IAA
Were executed by Carpatsky P-etroleum Corporation,7 a TeXas corporation (“Carpatsky-Texas”),
which in July 1996 was merged into an affiliate known as Carpatsky Petroleum Corporation, a
Delaware corporation (“Carpatsl<y-Delaware”). Because Carpatsky-Texas did not obtain
Ul<trnafta’s consent prior to merging into its corporate affiliate, Ulcrnafta contends that all post-
merger amendments to the JAA are void and that Carpatsky-Delaware is not a proper party to the
original JAA or the JV. Ukrnafta further alleges that subsequent to the 1996 merger pursuant to
the JAA and the JV, Ulcrnafta unwittingly delivered trade secret information to Carpatsky-
Delaware, which had no lawful right to receive or possess that information Ukmafta seeks to

enjoin Carpatsl<:y from using or.dissem`inating the alleged trade secret information2

 

2 Ulcrnafta also asserts claims against Carpatsky’s parent corporation, Kuwait Energy Company, K.S.C., as
well as Carpatsky’s fenner parent, Taurex Resources PLC, and Robert Bensch, fenner President and CEO of
Carpatsky-Delaware. None of these defendants have yet been served or appeared in this action. For purposes of this
motion, however, the Court need not be concerned with the absence of these defendants because Ul<rnafta’s claims
against them hinge on the same fundamental allegations as do its claims against Carpatsky and are therefore equally
related to the Stockholm arbitration

Carpatsl<y, on the other hand, contends that as legal successor to Carpatsky-'l`exas,
Carpatsky-Delaware automatically assumed all rights and obligations under the original JAA and
the JV and is therefore a rightful party to those agreements.- Carpatsky further contends that
provisions of the Ulcrainian Civil Code in effect at the time of the 1996 merger did not require
Carpatsky-Texas to notify Ul<rnafta of the merger or obtain Ukrnafta’s consent to the merger.
Furthermore, Carpatsky contends that even if such was required, Ukrnafta Waived its claim'by
continuing to execute amendments to the JAA and operate under the JVland the JAA long after
having notice of the merger.

III. THE ARBITRA_TION AGREEMENTS

Both the .lV and the IAA, as well as its amendments, contain broadly worded agreements
to arbitrate all disputes relating to the agreements ln that regard, the JV provides:

Any disputes and disagreements, and controversies raising from or connected

with this Agreernent will be settled by amicable negotiations Unless amicable

settlement has been reached within 90 (ninety) days of the date of submission of

the notice of presence of a dispute, disagreement, claim by one of the Participants,
the case shall be addressed to the Arbitration.3

Likewise, the JAA, as originally executed, contained a dispute resolution provision which

_ provided that if the parties failed to resolve “any dispute, discrepancy and difference arising out
of or in connection with” the JAA through negotiations, then the dispute would be submitted to
arbitration4 vThe parties later entered into two amendments to the JAA_one on October 15,
1996, and one on August 26, 1998.5 Each of those amendments involved revisions to several
provisions of the agreement including the dispute resolution clause With respect to arbitration,

the dispute resolution provision of the JAA now provides, in relevant part, as follows:

 

3 Vasylets Aff., 11 3, EX. 1.

4 Vasylets Aff. 11 7, Ex. 4.

s Vasylets Aff. 11 7, EX. 3, 4.

If the Participants fail to achieve agreement with respect to any disputable matters
within sixty (60) days upon delivery by one of the Participants of a notice of'a
dispute, such dispute shall be referred to the Arbitration Institute of the Stocl<holm
Chamber of Commerce which shall finally resolve the same. The Participants
agreed that the Arbitration shall be conducted pursuant to the provisions of the
UNCITRAL Arbitration Rules. The place of arbitration shall be Stocl<holm,
Sweden. Disputes shall be considered Subj ect to the material law of Ukraine, the
country where this Agreement shall be fulfilled The languages of Arbitration
shall be Ul<rainian and English.6

Thus, by including broad arbitration provisions in both the JV and the JAA, Carpatsky and
Ukrnafta agreed to submit to arbitration any and all disputes arising in connection with those
agreements

IV. THE CLAIMS IN THE STOCKHOLM ARBITRATION

The issues at the heart of this lawsuit also iie at the core of the Stocl<holm Arbitration,
Which has been pending for more than one year.

As mentioned above, the JAA provides for the joint exploration and development by
Carpatsky and Ul<rnafta of the RC Field in Ul<raine.7 To that end, under the IAA the parties
agreed to “pool their money, material, labor resources, technological and economic potential” in
order to achieve the objectives of the joint activity, with the stated intention of the parties being
that each would hold a 50% interest in the joint activity.8 The agreement also provided,
however, that if either party Was unable to fully fund its 50% share of the investrnent, then the
other party could cover the deticit, and the investment proportions of the parties could be

changed for a period of time.9

 

6 vasylea Aff. 11 7, Ex. 4.
7 Vasylets Aff. 11 7, Ex. 3.
8 vasyiets Aff. 11 7, Ex. 3.

9 Vasylets Aff. 11 7, Ex. 3.

The initial investments by Carpatsky and Ukrnafta were made on a 50-50 basis as
contemplated by the_agreement, but for a period of time thereafter, Carpatsky was unable to fully
fund its share.10 Ul<rnafta made up the difference, and the parties’ interests were adjusted
accordingly11 Subsequently, disputes arose between the_parties concerning whether Carpatsky
has the right to restore its interest back to 50%, Whether Ukr'nafta has undertaken operations in
the RC Field without obtaining necessary approvals, and whether Ul<rnafta has improperly
denied Carpatsky access to information about operations under the JAA.12

By a Request for Arbitration dated Septernber- 28, 2007, Carpatsky referred a dispute to
the Arbitration Institute of the Stockholm Chamber of Commerce pursuant to the above-quoted
arbitration provision of the JAA.13 Ul<mafta voluntarily participated in the arbitration
proceeding without objection and filed pleadings in the proceeding with respect to the merits
However, on December 19, 2008, Ukmafta for the first time objected to the jurisdiction of the
Arbitration Tribunal.14

The basis for Ukrnafta’s objection to the Tribunal’s jurisdiction is the same as the
foundation for its purported claims in this action-that Ul<rnafta was not informed of, and did not
consent to, the merger of the original party to the JAA, Carpatsky-Texas, into its corporate
affiliate, Carpatsl<y~Delaware.15 As part of its challenge to the Tribunal’s jurisdiction, Ukmafta

further alleges that the fact of the merger was concealed from it in various ways by Carpatsky

 

“’ Honigan Aff. 11 3, Ex. 1.
" Hom'gan Arf. 113, EX. 1.
12 Honigan Arr. jj 3, Ex, 1.
‘3 norrigan Aff. 11 3, Ex. 1.
“‘ norrigan Afr. 11 4, Ex. 2.

15 Homgan Aff. 11 4, Ex. 2.

and the other parties named as defendants in this lawsuit.16 Based on these allegations, Ukrnafta
has argued to the Tribunal that all post-merger. amendments to the JAA, including the
amendment that incorporates the arbitration provision described above, are void,17 and that it has
no contract _ and no arbitration agreement - with Carpatsky-]I)elav¢.fare.13

The Tribunal conducted a hearing on Ul<mafta’s jurisdictional objection on March 4,
2009, and has indicated that it expects to issue a ruling by mid-April, 200-9.19 Ul<rnaf"ta did not
appear and did not participate in the hearing20 Instead, on February 23, 2009, Ul<rnafta filed this
lawsuit in state court in Harris County, Texas.21 Carpatsl<y subsequently removed the case to
this Court pursuant to a Notice ofRemoval filed March 29, 2009.22'

f The allegations by Ul<rnafta in this lawsuit that it was not informed of the merger of
Carpatsl<y-Texas into Carpatsky-Delaware, and that all post-merger amendments to the JAA are
void, are the very same assertions that Ul<mafta has raised as the basis for its objection to
jurisdiction in the Stocl<holm arbitration23 Those allegations are the foundation for all claims
asserted against Carpatsl<y and the other defendants in this lawsuit, including the claims that the

defendants made material misrepresentations regarding what entity was a party to many

amendments to the JAA, that the representations regarding the identity of the signatory to the

 

16 Horrigan Aff. 11 4, Ex. 2.

11 1101-again Afr. 1 4, Ex. 2.

18 Horrigan Aff. 11 4, Ex. 2.

19 Horrigan Arf. 11 7, sxs. 7, 10,

20 norrigan Aff. 11 7, Ex. 1'.

21 Plf.’s Orig. Complaint (Dl=:t. # 1, EX. D).
22 l Notice of Removal (Dkt. #1).

23 Compare Plf.'s Orig. Complaint (Dl<t. # 1, Ex. D) with Horrigan Aff. 11 4, Ex. 2.

amendments constitute fraud, and that the defendants misappropriated trade secrets and were
unjustly enriched by acquiring economic benefits under the J'V and the lAri‘l.?4

V. ARGUMENT AND AUTH_OR.ITIES

A. The JV and the JAA Are Subject to the Federal Arbitration Act and The
Convention on the Recognition and Enforcement of Foreign Arbitral Awards.

The Federal Arbitration Act, 9 U.S.C. §§ 1 er seq., (the “Act”) requires enforcement of
“a written provision in . . . a contract evidencing a transaction involving commerce to settle by
arbitration a controversy thereafter arising out of such contract or transaction.’.’ 9 U.S.C. § 2. As
defined in the Act, “commerce” includes commerce with foreign nations. 9 U.S.C. § 1. A
contract between an American company and a foreign corporation that is to be performed in a
foreign country involves commerce with a foreign nation. Al-Sa[amah Arabian Agencies Co.,
er. v. Reece, 673 F.Supp. 748, 750 (M.D.N.C. 1987) (citing Reynolds Jamaica Mz`nes v.y Lu
Soct'ere Navale Caennaz`se, 239 F.2d 689, 693 (4th Cir. 1956)); Pz`Oneer Properrz`es, Inc. v.
Marrz'n, 557 F.Supp. 1354, 1364 U). Kansas 1983). Both the JV and the lAA are agreements
under which a United States corporation, Carpatsl<y, agreed to use itsmoney to help a foreign
entity, Ul<rnafta, fund the development of property in a foreign country - the BB Field and the
RC Field in Ul<raine. The JV and the JAA are therefore agreements involving commerce that are
subject to the Act. See Pz`oneer, 557 F.Supp. at 1364 (“[C]ertainly the use of plaintiff’ s money
to develop and manage Canadian real estate is a transaction involving commerce for purposes of
application of the Arbitration Act.”).

The Convention on the Recognition and Enforcement of Foreign Arbitral Awards (the
“Convention”), to Which both the United States and Ukraine are parties, provides that each

Contracting State shall recognize agreements under which the parties undertake to submit

 

24 _ Plf.’s Orig. Complaint (Dkt. # l, EX. D).

disputes to arbitration25 The United States implementing legislation for the Convention
provides for the enforcement of the Convention in United States courts. 9 U.S.C. § 201. Thus,
in addition to being independently enforceable under the Act, the arbitration provisions in the JV
and the JAA are also enforceable under the Convention, as implemented through the Act.

B. Federal Law Strongly Favors Arbitration in The International Context.

Federal law strongly favors arbitration, particularly in the context of international
transactions Moses H. Cone Memori'al Hospiml v. Mercury Constr. Corp, 460 U.S. 1, 24-25
(1983). A presumption exists in favor of agreements to arbitrate, and courts must resolve any
doubts about an agreement to arbitrate in favor of arbitration The Fifth Circuit acknowledged
this policy as follows in Neal v. Hardee ’s Food Sys., _Inc., 918 F.2d 34, 37 (5th Cir. 1990):

A party_cannot be compelled to submit a dispute to arbitration unless there has

been a contractual agreement to do so. . . . ln addressing questions of arbitrability,

We must, however, keep in mind the strong federal policy favoring arbitration . . .

We resolve doubts concerning the scope of coverage of an arbitration clause in a

contract in favor of arbitration . . . We have held that arbitration should not be

denied “unless it can be said with positive assurance that an arbitration clause is

not susceptible of an interpretation which would cover the dispute at issue.”

918 F.2d at 37 (citations omitted).

ln Scherk v. Alberto-Culver Co., 417 U.S. 506 (1974), the Supreme Court noted that the
presumption in favor of freely negotiated contractual choice-of-forum provisions and the federal
policy in favor of arbitration are particularly strong in the field of international commerce
Citing the adoption of the Convention, and the enactment by Congress of implementing
legislation, as evidence of the importance of arbitration in international commercial transactions,

the Court said:

An agreement to arbitrate before a specified tribunal is, in effect, a specialized
kind of forum-selection clause that posits not only the situs of suit but also the

 

25 A copy of the Convention is attached hereto as Exhibit B.

procedure to be used in resolving the dispute. The invalidation of such an
agreement in the case before us_would not only allow the respondent to repudiate
its solemn promise but would, as well, reflect a “parochial concept that all
disputes must be resolved under our laws and in or courts. . . . We cannot have
trade and commerce in world markets and international waters exclusively on our
terms, governed by our laws, and resolved in our courts.”

417 U.S. at 519 (quoting from M/S Bremen v. Zapata OFShore Co., 407 U.S. l, 9 (1972).
ln Mz'tsubz'shz` Motors v. Soler' Chzj)sler-Plymouth, 473 U.S. 614 (1985), the Supreme
Court reiterated the strong presumption in favor of freely negotiated contractual choice-of-forum
provisions, and the strong federal policy in favor of arbitration, particularly in the field of
international commerce Citing Scherk, the Court said:
[W]e.conclude that concerns of international comity, respect for the capacities of
foreign and transnational tribunals, and sensitivity to the need of the intemational
commercial system for predictability in the resolution of disputes require that we

enforce the parties’ agreement, even assuming that a contrary result Would be
forthcoming in a domestic context.

473 U.S. at 629.

The Fifth Circuit recently applied the federal policy favoring arbitration in a manner
particularly relevant the issue now before this Court. In A'gere Systems, Inc. v. Samsung
Electronics Co. Ltd., No. 07-40984, 2009 WL 388940 at *3 (5th Cir. February 18, 2009), the
parties disputed whether an arbitration clause contained in an old agreement between them was
still in effect or whether it had been superceded by a later agreement containing no arbitration
clause. Finding that there were potentially plausible arguments on both sides, the Fifth Circuit
held that the federal policy m favor of arbitration required that the ultimate issue cf arbitrability
be left for the arbitrators to decide. Agere, 2009 WL 388940 at "‘3. That holding is especially
pertinent to disputes between U.S. entities and a foreign companies, given the heightened respect
for arbitration in the international arena. Accordingly, in this case, as in Agere, it is for the

arbitrators to decide their jurisdiction over the claims raised by Ul<rna.tta.

C. This Lawsuit Must Be Stayed Pursuant to the Act.

Consistent with the strong federal policy in favor of arbitration, Section 3 of the Act
provides that if any suit is brought on a claim that is referable to arbitration under a written
agreement, the lawsuit “sllall” be stayed. 9 U.S.C. § 3 (emphasis added). In the words of
Section 3:

If any suit or proceeding be brought in any of the courts of the United States upon

any issue referable to arbitration under an agreement in writing for such

arbitration, the court in which such suit is pending, upon being satisfied that the

issue involved in such suit or proceeding is referable to arbitration under such an

agreement, shall on application of one:of the parties stay the trial of the action

until such arbitration has been had in accordance with the terms of the agreement,

providing the applicant for the stay is not in default in proceeding with Such
arbitration '

9 U.S.C. § 3.

The Fifth Circuit has recognized that under Section 3, the stay is mandatory and that a
district court has no discretion to deny the stay if the issues in the case are within the reach of the
arbitration agreement Complat'nt ofHornbeck O]jfs'hore (]984) Corp., 98l F.Zd 752, 752 (5th
Cir. 1993). In determining whether the issues are within the reach of the arbitration agreement,
the Fifth Circuit considers two factors: (l) Whether there is a valid agreement to arbitrate
between the parties; and (2) whether the dispute in question falls within the scope of that
arbitration agreementl OPE Intematt`onal LP v. Chet Morrison Contractors Inc., 258 F.Sd 443,
445 (Sth Cir. 2001); .fureczki v. Banc One Te)`cas, N.A., 252 F.Supp.2d368, 370 (S.D_. Tex. 2003).
Both factors compel arbitration cf the claims asserted against Carpatsky in this case and a
corresponding stay of this litigation

1.. There are valid arbitration agreements between the parties.

In determining whether there is a valid arbitration agreement federal courts hold that the

agreement to arbitrate is separable from the contract as a whole, and that the court must

_10_

determine the validity of the arbitration agreement separately from the validity or invalidity of
the main contract Prz`ma Paz'm‘ v. Flood & Conklz'n, 388 U.S. 395, 403; Jureczkz', 252 F.Supp.2d
at 371. Thus, the court can only determine issues relating to the making of the agreement to
arbitrate, while defenses that relate to the entire contract must be arbitrated. Prr'ma Paint, 388
U.S. at 403-0_4. The Fifth Circuit in Will-Drt`ll Res., Inc. v. Samson Res. Co. explained this rule
in plain terms:

[W]here parties have formed an agreement which contains an

arbitration clause, any attempt to dissolve that agreement by

having the entire agreement declared voidable er void is for the

arbitration Only if the arbitration clause is attacked on an

independent basis can the court decide the dispute; otherwise,
general attacks on the agreement arc for the arbitrator.

352 F.Bd 211, 218 (Sth Cir. 2003) (citing Prima Paint Corp., 388 U.S. at 403) (emphasis added).

Here, Ukrnafta has not raised any defenses that relate specifically to the arbitration
clauses of the JV or the JAA. Instead, Ukrnafta’s arguments relate to Carpatsky’s status as a
party to the agreements, and to the validity of_ the amendments to the JAA. With respect to the
JV and the original JAA, Ukrnafta’s allegations concem the validity of the entire agreements as
they relate to Carpatsky~Delaware, the surviving Carpatsky corporation Ukrnafta’s only
objection to those agreements is that Carpatsky-Delaware is a successor by merger to the original
contracting party _ Carpatsky-Texas - and that Carpatsky-Texas did not follow the proper
procedures to substitute the surviving entity as a party to the IV or the JAA. _Those issues do not
relate specifically to the validity of the arbitration provisions Accordingly, those issues are
subject to arbitration Prz'ma Paz'nt, 388 U.S. at 403-04.

The same is true with respect to the amendments to the JAA. An October 15, 1996,

amendment to the JAA revised the dispute resolution provision, but that was only a small part of

111-

the overall revision26 That amendment substantially revised, reorganized and renumbered the_
provisions of the JAA and added numerous new provisions27 Ukrnafta contends that the entire
October 15 , 1996, amendment is void, not just the revisions to the arbitration provision Because
that contention is directed at the entire amendment, it can be arbitrated and will not defeat the
arbitration Ia'.

The JAA was amended again by changes and amendments dated August 26, 1998.28 Tliat
amendment revised the arbitration provision to provide for referral of disputes to the Arbitration
Institute of the lStockholm Chamber of Commerce, and it specified that the place of the
arbitration would be Stockholm, Sweden.29 Like the earlier amendment, the August 26, 1998,
amendment revised and supplemented the JAA in numerous respects, and the change in the
arbitration provision was only a small part of the revisions Ukrnafta contends that the entire
August 26, 1998, amendment is void, not just the change in the arbitration provision Because
that contention is directed at the entire amendment, and is not directed specifically 'at the
arbitration agreement, it can be arbitrated and thus will not defeat the arbitration ld.

In sum, Ukrnafta’s contentions that Carpatsky-Delaware is not a proper party to the IV or
to the original JAA and that the contract amendments revising the .TAA’s arbitration provision
are void cannot defeat Carpatsky’s right to arbitration because those contentions concern the
agreements in their entiretyl Because Ukrnafta’s claims do not relate specifically to the validity

of the arbitration provisions, they must be submitted to arbitration Thus, the first factor in

 

25 vasyiets Arf. 11 7, Ex. 4.
27 vasyiets Aff. 11 7, EX. 4.
28 Vasylets Aff. il 7, Ex. 3.

29 Vasylets Aff. 11 7, Ex. 3.

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determining whether the claims against Carpatsky are subject to arbitration must be resolved in
favor of arbitration

2. The dispute falls within the scope of the arbitration agreements

The second factor _ whether the dispute in question falls within the scope of the
arbitration agreement -- must also be resolved in favor-of arbitration In determining whether a
dispute falls within the scope of an arbitration agreement, the court must first characterize the
arbitration clause as “broad” or “narrow.” Hombeck, 981 F.2d at 754; Jureczki, 252 F.Supp.Zd _
at 374. If the clause is broad, the action must be stayed and the arbitrators must be permitted to7
determine whether the dispute falls within the scope of the clause. Hornbeck, 981 F.2d at 754;
Sedco v. f’efroleos Mexicanos Mexican Nat’l Ot`l, 767 F.Zd 1140, 1145 n. 10 (Sth Cir. 1985).
Clauses that provide generally for the arbitration of “any disputes” between the parties are
classified as broad arbitration clauses for this purpose For example, a clause in Hornbeck that
covered “any dispute” arising between the parties and a clause in_ Sedco that covered “any
dispute or difference between the parties” were both classified as broad clauses.

Similarly, the arbitration provisions at issue here provide broadly that “[a]ny disputes and
disagreements, and controversies raising from or connected with [the JV],’*’ as well as “any
dispute, discrepancy and difference arising out of or in connection with [ the JAA]” will be
submitted to arbitration Thus, because the JV and the JAA contain valid and broadly worded
arbitration provisions,` a stay of this case is mandatory under Section 3 of the Act.

D. This Lawsuit Must be Stayed Pursuant to the Convention.

Like the Act, the Convention requires a stay of all trial court proceedings against
Caipatsky. In this regard, Article ll Section l of the Convention provides that when a dispute
subject to the Convention is filed in a court, the court “shall” refer the matter to arbitration

Further, through the Convention’s implementing legislation Congress made the mandatory stay

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provision in Section 3 of the Act applicable to all agreements subject to the Convention. 9
U.S.C. § 208. Accordingly, where, as here, the limited factual inquiry permitted under Section 3
of the Act (as described in Part C, supra) reveals that a U.S. company and a foreign company
have entered into a broad agreement to arbitrate that is subject to the Convention, disputes
between them must be referred to arbitration and the litigation stayed. Sedco, 767 li.Zd at 1151
(reversing district court’s refusal to grant stay and holding that the Convention “does not confer
discretion” to deny arbitration in the face of a broad arbitration clause).

E. The Case for a Stay is Even More Compelling Because These Same Issues Have
Already Been Briefed and Heard by the Tribunal.

-Ukrnafta’-s lawsuit hinges on its assertions that Carpatslcy-Delaware is not a party to the
JV or the original JAA, and that, as a result, the present version of the JAA, including its
arbitration provision, is void. With respect to the JAA, this fundamental issue has already been
asserted by Ukrna&a, fully briefed by the parties, and heard by the Tribunal in the pending
Stocl<;holm arbitration in_ connection with Ukrnafta’S jurisdictional objection. Both Carpatsky
and Ukrnafta have invested significant time and resources into that arbitration, and the Tribunal
has indicated that it expects to issue a ruling on the jurisdictional issue in a matter of weeks

Further, although the specific claims raised by Ukrnafta in this lawsuit relating to
Carpatsky-D'elaware’s status as a party to the JV are not a part of the pending Stocl<holm
arbitration, they are still subject to a stay. As discussed above, those claims are encompassed by
the JV’s broad arbitration clause, and arbitration is therefore the only forum in which they can be
decided. Whether that ultimately involves Ukrnafta instituting an arbitration of those claims or
Carpatsky demanding arbitration on them, the fact remains that they are not susceptible to

adjudication in a court of law.

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Carpatsky believes that the decision of the Stockholm arbitration Tribunal on the
jurisdictional objections raised by Ukrnafta will be res judicata of the fundamental issues
underlying Ul<rnaf`ta’s claims in respect of the lV because those issues (including the effect of
the 1996 merger of the Carpatsky entities upon Carpatsky’s status as a party to the Ukrainian
contracts) are the subject of the Tribunal’s current deliberationsl Moreover, that issue - whether
the Sto:ckholm decision has binding effect in a later arbitration - is itself an arbitrable issue. As
the Fifth Circuit succinctly stated in New Orleaas S. S. Ass ’n' v. General Longshore Wkrs., 626
F.2d 455 (5th Cir. 1980):

Whether the award can be given an effect akin to res judicata or stare decisis with

regard to future disputes that may arise between the partics, neither the district

court nor this court should decide If the parties do not agree, that issue itself is a
proper subject for arbitration

626 F.2d at 468.

Consistent with the Fifth Circuit’s'position on the issue, the majority of federal courts
have determined that whether a prior arbitration proceeding is res judicata of a later one is a
matter for the arbitrator to determine1 Chz`ron Corp; v. Ortho Diagnosfic Sys., Inc., 207 F.3d
1126, 1132-33 (9th Cir. 2000); Indap. Lz`ft Truck Builders Union v. NACCO Materials Handling
Group, Inc., 202 F.$d 965, 968 (Tth Cir. 2000); John Hancock Mut. Lz`fe lns. Co. v. Olt'ck, 151
F.3d 132, 139-40 (Srd Cir. 1998); Naf'l Union Fr're In.s'. Co. v. Belco Petroleum Corp., 88 F.Bd
129, 135-36 (an Cir. 1996). Thus, the potential impact of the Stockholm decision in a
subsequent arbitration under the JV is a further reason why all claims in this case should be
stayed pending a decision by the Stockholm'"l`ribunal.

For all these reasons, Carpatsl<y respectfully requests that this court issue a stay of this
litigation until such time as the Tribunal in the Stocl<holrn arbitration issues a decision on

Ukmafta’s jurisdictional challenge If the Tribunal grants the objection to its jurisdiction and

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dismisses the arbitration then the stay of this lawsuit can be lifted and this case can go forward
with little delay. If, however, the Tn'bunal determines that the JAA, as amended, is valid and
that it therefore has jurisdiction over all disputes relating to the JAA, then the claims against
Carpatsl<y in this lawsuit must be dismissed because such claims can only be resolved by
arbitration Alford v. Dectn Witter Reynolds, Inc., 975 F.2d 1161, 1163 (5th Cir. 1992) (“The
weight of authority clearly supports dismissal of the case when all of the issues raised in the
district court must be submitted to arbitration.”).

VI. PRAYER

WHEREFORE, PREMISES CONS]DERED, Carpatsl<y Petroleum Corporation prays
that this lawsuit be stayed pending a jurisdictional decision by the Tribunal in the Stocl<holm
arbitration Carpatsky further prays that all claims asserted against it be dismissed in the event

that the Tribunal finds it has jurisdiction

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Respectfully submitted,

By:

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CERTIFICATE OF CONFERENCE

1 hereby certify that on April 2, 2009, 1 conferred with Ukrnafta’s counsel, Shawn M. -
Bates, and that counsel cannot agree about the disposition of this Motion for Stay Pending
Decision by Arbitration Tribunal.

s!Timothv S. McConn
Timothy S.rMcConn

CERTIFICATE OF SERVICE

I hereby certify that on the 3rd day of April, 2009, 1 electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Southem District of Texas, using
the electronic case filing system of the Court. The electronic case filing system sent a “Notice of
Electronic Filing” to the following attorneys of record who have consented in writing to accept
this Notice as service of this document by electronic meansl

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